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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                            CASE NO. 6:23-CR-00142-02

 VERSUS                                              JUDGE ROBERT R. SUMMERHAYS

 CODY LAJOHN WILLIAMS (02)                           MAGISTRATE JUDGE DAVID J. AYO

                                   MINUTES OF COURT:
                              Initial Appearance \ Arraignment
  Date:               12/7/2023       Presiding: Magistrate Judge David J. Ayo
  Court Opened:       2:36 PM         Courtroom Deputy:        Christina Chicola
  Court Adjourned:    2:48 PM         Court Reporter:          Zoom Recording
  Statistical Time:   00:12           Courtroom:               Zoom Recording
                                      Probation Officer:       Michael Christy

                                        APPEARANCES
  LaDonte A Murphy (AUSA)                     For   United States of America
  Gerald J Block (CJA)                        For   Cody Lajohn Williams (02), Defendant
  Cody Lajohn Williams (02)                         Defendant

                                        PROCEEDINGS
 ORDER:
 These proceedings were conducted via Zoom Video Conference with the consent of all parties
 and pursuant to Federal Rules of Criminal Procedure 5(g) and 10(c).

  Defendant knowingly and voluntarily waived his right to be present for the Initial Appearance
 and Arraignment. The Court finds that the use of video conference to conduct this proceeding is
 warranted because this proceeding cannot be further delayed without serious harm to the
 interests of justice.

 BEFORE COURT OPENED:
 Defendant Provided with Charging Document(s)
 Defendant previously appointed counsel on June 27, 2023

 INITIAL APPEARANCE ON: Superseding Indictment
 Defendant Sworn
 Defendant Advised of Charges, Maximum Penalties & Rights
 Detention Hearing Requested By: Defendant
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 ORDER:
 Pursuant to FRCrP 5(F), the government was previously ordered to produce all exculpatory
 evidence to the defendant pursuant to Brady v. Maryland and advised of possible consequences
 for failure to comply.

 ARRAIGNMENT ON: Superseding Indictment
 Waiver of formal reading of indictment
 Plea Entered: Not Guilty To Count(s) 1s,2s,3s,4s
 Arraignment Held

 NEXT:
 Defendant originally requested a detention hearing before the undersigned. Following the
 hearing, the Court was contacted by the government and the attorney for the defendant to advise
 that the defendant wishes to withdraw his request for a detention hearing, still reserving his right
 to one, should his circumstances change.

 The Detention hearing, originally set for December 11, 2023, at 2:00 p.m. is CANCELLED.

 NEXT:
 Telephone Scheduling Conference set for 12/15/2023 at 11:00 a.m., before Magistrate Judge
 Ayo. Counsel shall call in to the conference by dialing the Magistrate Judge’s specified
 conference number.

 RELEASE:
 Defendant remanded to the custody of the US Marshals pending further proceedings.
